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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


UNITED STATES OF AMERICA
                                                                                    PLAINTIFF


VS.                           CASE NO. 4:14CR00008-BSM-9

RICHARD BABCOCK                                                                     DEFENDANT


                    ORDER MODIFYING CONDITIONS OF RELEASE

       The Defendant appeared with counsel for a hearing on the Government’s Motion to Revoke

Pretrial Release (DE #192). The Court finds clear and convincing evidence that Defendant has

violated the terms and conditions of his pretrial release. Rather than revoking Defendant’s bond at

this time, it is the Order of the Court that Defendant be released into an in-patient drug treatment

facility followed by sixty days of chemical-free living. However, Defendant is detained until the

necessary parameters are in place for his immediate admission into a drug-treatment facility.

       While detained, the Defendant must be afforded a reasonable opportunity to consult privately

with defense counsel. Further, on order of the United States Court or on request of an attorney for

the Government, the person in charge of the corrections facility must deliver the Defendant to the

United States Marshal for a court appearance.

       IT IS SO ORDERED this 28th day of April, 2014.

                                                     ____________________________________
                                                     UNITED STATES MAGISTRATE JUDGE
